          Case 21-00386-LA13                        Filed 02/16/21   Entered 02/16/21 21:46:29            Doc 17       Pg. 1 of 8

CSD 1300 [12/01/17]

United States Bankruptcy Court
SOUTHERN DISTRICT OF CALIFORNIA

Debtor(s): Anthony Leo Gril                                                       Case Number:      21-00386-LA13

                                                                                          Check if this is an amended plan, and list below
                                                                                          the sections of the plan that have been changed.



Mandatory Chapter 13 Plan
Dated: February 16, 2021

Part 1: Notices

To All Parties in Interest:

               The court has provided guidelines for use of this form that can be found in CSD 1300A.

               This plan does not provide for avoidance of a lien which impairs an exemption. This must be sought
               by separate motion.

To Debtors:

               In some places this form provides you with options. You should carefully consider whether you
               need to elect among the options. If you do, you should carefully consider which option is
               appropriate.

               In the following notice to creditors, you must check each box that applies.

To Creditors:
          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

               You should read this plan carefully and discuss it with your attorney, if you have one in this bankruptcy
               case. If you do not have an attorney, you may wish to consult one.

               If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must
               file an objection to confirmation in accordance with Southern District of California Local Bankruptcy
               Rule 3015-5 within 7 days after the filing of the Notice of Meeting of Creditors Held and Concluded.
               Untimely objections may not be considered. Any such objections must be noticed for hearing at least 28
               days after filing the objection. The Court may confirm this plan without further notice if no objection to
               confirmation is filed. See Bankruptcy Rule 3015(f). In addition, you may need to file a timely proof of
               claim in order to be paid under any plan.

               The following matters may be of particular importance. Debtors must check one box on each line to state
               whether or not the plan includes each of the following items. If an item is checked as “Not Included” or if
               both boxes are checked, the provision will be ineffective if set out later in the plan.


      1.1      A limit on the amount of a secured claim, set out in § 3.2, which may         Included   Non included
               result in a partial payment or no payment at all to the secured creditor

      1.2      Nonstandard provisions, set out in Part 9                                     Included   Not included

Part 2: Plan Payments and Length of Plan

2.1 Regular payments

CSD 1300 (12/01/17)                                                  Chapter 13 Plan                                           Page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                 Best Case Bankruptcy
          Case 21-00386-LA13                        Filed 02/16/21   Entered 02/16/21 21:46:29              Doc 17          Pg. 2 of 8


CSD 1300 (12/01/17]               Debtor(s)       Anthony Leo Gril                     Case number      21-00386-LA13

Debtor(s) will make regular payments to the trustee as follows:
        Complete one.
$      per        for 36 months (Applicable commitment period for below median debtor(s))


$         per month for 60 months (Applicable commitment period for above median debtor(s))

$750.00 per month for 60 months months (Despite applicable commitment period of 36 months, debtor(s) seek additional time to cure
secured or priority arrearage or to make necessary payments to meet the liquidation test specified in § 5.2.2.)

2.2 Irregular payments.

Debtor(s) will change the payment amount at different time periods as follows:
   $                     per              from                       to

Insert additional payments as needed.

2.3 Manner of payments.

Regular payments must be made directly to the trustee from future earnings unless the court issues an earnings withholding order. Any
other manner of payment must be specified by checking the box below.

                      Other (specify method of payment):                                                                .

2.4 Income tax issues.
   Check all that apply.
                 Debtor(s) will retain any federal or state tax refunds received during the plan term.

                      Debtor(s) will supply the trustee with a copy of each federal and state tax return filed during the plan term within 14
                      days of filing the return.

                      Debtor(s) will turn over to the trustee all federal and state income tax refunds, other than earned income or child
                      care tax credits, received during the plan term.

                      Debtor(s) will supply the trustee with federal and state tax returns filed during the plan term and will turn over to
                      the trustee a portion of any federal and state income tax refunds received during the plan term as specified below.




                      Debtor(s) must not change their withholding exemptions during the plan term unless there is an appropriate
                      change in circumstances and will timely pay all post-confirmation tax liabilities directly to the appropriate
                      taxing authority as they become due.


2.5 Additional payments.
   Check one. If neither box is checked, "None" applies.
                 None. If “None” is checked, the rest of § 2.5 need not be completed or reproduced.

2.6 The total amount of estimated payments to the trustee provided for in §§ 2.1 through 2.5 is $43,200.00 .

Part 3: Treatment of Secured Claims

3.1 Maintenance of payments and cure of any default.

CSD 1300 (12/01/17)                                                  Chapter 13 Plan                                             Page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                   Best Case Bankruptcy
          Case 21-00386-LA13                        Filed 02/16/21    Entered 02/16/21 21:46:29              Doc 17        Pg. 3 of 8


CSD 1300 (12/01/17]               Debtor(s)       Anthony Leo Gril                      Case number      21-00386-LA13

    Check one. If neither box is checked, "None" applies.
                  None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                  The debtor(s) will maintain the contractual installment payments on the claims listed below, with any changes
                  required by the applicable contract, and cure any default in payments on the secured claims listed below. The
                  allowed claim for any arrearage amount will be paid under the plan, with interest, if any, at the rate stated. Unless
                  otherwise ordered by the court, the amounts listed on a proof of claim or amended proof of claim filed before the
                  filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below. A tardily filed proof
                  of claim will be disallowed unless it is estimated below or unless the debtor(s) brings a motion to allow the claim. If
                  relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise
                  ordered by the court, all payments under this paragraph as to that collateral will cease and all secured claims based
                  on that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the
                  trustee rather than by the debtor.

                                                                                           Interest rate     Monthly plan Estimated total
 Name of creditor with last 4                           Collateral         Amount of       on arrearage      payment on    payments by
  digits of account number                                                 arrearage       (if applicable)    arrearage       trustee


Point Loma Condominium                   4444 West Point Loma Blvd,
HOA                                      Unit 1 San Diego, CA 92107         $32,308.00              0.00%           $639.15            $33,875.00


US Bank Trust NA/SN                      4444 West Point Loma Blvd,
Servicing Corporation                    Unit 1 San Diego, CA 92107               $0.00             0.00%              $0.00                  $0.00


San Diego County Tax                     4444 West Point Loma Blvd,
Collector                                Unit 1 San Diego, CA 92107               $0.00             0.00%              $0.00                  $0.00
Insert additional claims as needed.

3.2 Request for valuation of security and claim modification.

      To determine the proper valuation of real estate secured claims, the debtor(s) must timely file a motion in accordance
      with Local Bankruptcy Rule 3015-8 in addition to including the creditor in this section of the plan. No such motion is
      necessary for valuation determinations for personal property secured claims.

            The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under
            Part 5 of this plan unless the claim is entitled to priority status, in which case it will be provided in Part 4. If the amount of a
            creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety as an
            unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim
            listed on the proof of claim controls over any contrary amounts listed in this paragraph.

            The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien
            until the earlier of the following events as applicable to the particular secured creditor: 1) payment of the underlying debt
            determined under nonbankruptcy law; 2) discharge under 11 U.S.C. § 1328, or 3) completion of payments under the plan if
            the debtors(s) are not entitled to a discharge. After the date applicable to termination of the lien, it will be released by the
            creditor unless the claim is a nondischargeable claim owed to a governmental entity. See Local Bankruptcy Rule 3015-8.

 Check one. If neither box is checked, "None" applies.
                 None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.


                      The remainder of this paragraph will be effective only if the applicable box in Part 1 of
                      this plan is checked.

                      The debtor(s) request that the court determine the value of the secured claims to be treated in the manner below. For
                      each non-governmental secured claim listed below, the debtor(s) state that the value of the secured claim should be
                      as stated below in the column headed Amount of secured claim. For secured claims of governmental units, unless

CSD 1300 (12/01/17)                                                   Chapter 13 Plan                                              Page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                     Best Case Bankruptcy
          Case 21-00386-LA13                        Filed 02/16/21   Entered 02/16/21 21:46:29              Doc 17        Pg. 4 of 8


CSD 1300 (12/01/17]               Debtor(s)       Anthony Leo Gril                     Case number       21-00386-LA13

                      otherwise ordered by the court pursuant to a claim objection, the amounts listed in proofs of claim filed in
                      accordance with the Bankruptcy Rules control over any contrary amounts listed below. For each listed secured
                      claim, the controlling amount of the claim will be paid in full under the plan with interest at the rate stated below.

       3.2.1 Identify creditor and collateral.
                   None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.




3.3 Secured claims excluded from 11 U.S.C. § 506.

    Check one. If neither box is checked, "None" applies.
                  None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                  The claims listed below were either:

                      (1) secured by real estate and matured pre-petition;

                      (2) secured by real estate and will mature during the term of the plan;

                      (3) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor
                      vehicle acquired for the personal use of the debtor(s); or

                      (4) incurred within 1 year of the petition date and secured by a purchase money security interest in any other
                      property of value.

                      These claims will be paid in full under the plan with interest at the rate stated below. Unless otherwise ordered by
                      the court, the claim amount stated on a proof of claim or modification of a proof of claim filed before the filing
                      deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. The final column includes
                      only payments disbursed by the trustee rather than by the debtor.


Insert additional claims as needed.

3.4 Surrender of collateral to secured creditors.

    Check one. If neither box is checked, "None" applies.
                  None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Intentional exclusion of claim from treatment under the plan.

    Secured and partially secured creditors who received proper notice but who do not timely file a proof of claim, and who are not
    provided for elsewhere in the plan, will be considered excluded creditors and treated in this section.


    Check one. If neither box is checked, "None" applies.
                  None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                  The claims held by creditors listed below will not be provided for under the plan, and the plan will not affect any of
                  the claimant's rights under applicable law.

Name of creditor and description of claim                                     Description of claim
Capital One Auto Finance                                                      2020 Dodge Charger Purchase Agreement
US Bank Trust NA/SN Servicing Corporation                                     4444 West Point Loma Blvd, Unit 1 San Diego, CA 92107
San Diego County Tax Collector                                                4444 West Point Loma Blvd, Unit 1 San Diego, CA 92107

Insert additional claims as needed.


CSD 1300 (12/01/17)                                                  Chapter 13 Plan                                              Page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                    Best Case Bankruptcy
          Case 21-00386-LA13                        Filed 02/16/21   Entered 02/16/21 21:46:29             Doc 17       Pg. 5 of 8


CSD 1300 (12/01/17]               Debtor(s)       Anthony Leo Gril                     Case number     21-00386-LA13




    Check one. If neither box is checked, "None" applies.
                  None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4: Treatment of Priority Claims

4.1 Treatment of priority claims.

All allowed priority claims other than those treated in §§ 4.5 and 4.6 of the plan will be paid in full without interest.

4.2 Interest exception.

If the plan provides interest to unsecured nonpriority creditors, that same rate of interest will be paid to all creditors for which interest
is not otherwise specifically provided under this plan.

4.3 Trustee's fees.

The trustee will receive a fee, the percentage of which is set by the United States Trustee in accordance with applicable law. Trustee’s
fees are estimated to be 10.00% of plan payments; and during the plan term, they are estimated to total $4,320.00.

4.4 Adequate protection payments.

The trustee will make pre-confirmation adequate protection payments to secured creditor, identified in General Order 175-F, from
plan payments received from the debtor(s), as this order may be amended from time to time.

4.5 Domestic support obligations.

    Check one. If neither box is checked, "None" applies.
                  None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

4.6 Assigned domestic support obligations.


            Even if a domestic support obligation claim is not listed here, debtor(s) must nevertheless pay it in full to receive a
            discharge.

           Insert additional claims as needed.

4.7 Attorney's fees

The total amount of attorney's fees to be paid under the plan is estimated to be $5,005.00. The balance of the fees awarded by court
order to professionals for debtor(s) under 11 U.S.C. § 330 will be paid as follows:

    Check one.

                      on a priority basis before other priority claims other than trustee’s fees and adequate protection payments.

                      in installment payments of $                                     .

4.8 Other priority claims and secured portion of federal and state tax claims.

All priority claims identified in 11 U.S.C. § 507, including unsecured priority tax claims, are included in this section of the plan. The
secured portion of a federal or state tax claim is also included in this section unless specifically provided for elsewhere in this plan.
CSD 1300 (12/01/17)                                                  Chapter 13 Plan                                            Page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                  Best Case Bankruptcy
          Case 21-00386-LA13                        Filed 02/16/21   Entered 02/16/21 21:46:29           Doc 17      Pg. 6 of 8


CSD 1300 (12/01/17]               Debtor(s)       Anthony Leo Gril                     Case number   21-00386-LA13


    Check one. If neither box is checked, "None" applies.
         None. If “None” is checked, the rest of § 4.8 need not be completed or reproduced.
         The debtor(s) estimate the total amount of priority and secured tax claims to be paid under this section of the the plan to be $
         9780.55. This sum is a total of all of the payments listed below to be paid in accordance with this section. Priority claim
         payments are owed to the following creditors in the following amounts:

          Check all that apply.

                      Internal Revenue Service in the estimated amount of                $9,780.55

                      Franchise Tax Board in the estimated amount of                     $

                      California Department of Tax and Fee Administration in the
                      estimated amount of                                                 $

                      Employment Development Department in the estimated amount of                   $

                      County Property Tax Assessor (not real property taxes) in the
                      estimated amount of                                                       $

                      Other in the estimated amount of                                  $0.00

Part 5: Treatment of Nonpriority Unsecured Claims

5.1 General.

Nonpriority unsecured claims will be paid to the extent allowed as specified in this Part.

5.2 Nonpriority unsecured claims not separately classified.

Allowed nonpriority unsecured claims that are not separately classified in this plan will be paid, pro rata, all funds remaining after
payment of all other creditors provided under the plan. Payments to unsecured creditors will be allowed to the extent paid if an
allowed amended, late filed, or late added claim reduces the amount available to unsecured creditors under this section.

5.2.1 Projected payment to nonpriority unsecured creditors.

Based upon the total payments to the trustee listed in § 2.6 of the plan, minus the payments under the plan on the claims scheduled by
the debtor(s) that are provided for in §§ 3.1 through 3.3, Part 4, §§ 5.3 through 5.5, and Part 6 of the plan, the estimated payment to
allowed nonpriority unsecured claims not separately classified under the plan is $0.00. This amount will be shared on a pro-rata basis
on these claims. This amount will not be reduced by claims arising under 11 U.S.C. § 1305 and §§ 507(a)(1)(A) and (B) that are not
fully addressed in the plan, but may otherwise increase or decrease.

5.2.2 Required payment to nonpriority unsecured creditors under the liquidation test.

If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $50,558.91.
The total of the payments on allowed nonpriority unsecured claims will be made in at least this amount, and debtor(s) will be required
to make payments in addition to those specified in Part 2 to prevent the plan from going into default.

5.3 Interest on allowed nonpriority unsecured claims not separately classified.

    Check one. If neither box is checked, "None" applies.

                      None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

5.4 Non-filing co-debtor claim treatment for maintenance of payments and cure of any default on nonpriority unsecured
   claims.
CSD 1300 (12/01/17)                                                  Chapter 13 Plan                                         Page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                               Best Case Bankruptcy
Case 21-00386-LA13   Filed 02/16/21   Entered 02/16/21 21:46:29   Doc 17   Pg. 7 of 8
          Case 21-00386-LA13                        Filed 02/16/21   Entered 02/16/21 21:46:29          Doc 17       Pg. 8 of 8


CSD 1300 (12/01/17]               Debtor(s)       Anthony Leo Gril                     Case number   21-00386-LA13




By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the
wording and order of the provisions in this Chapter 13 plan are identical to those contained in CSD 1300, other than any nonstandard
provisions included in Part 9.




CSD 1300 (12/01/17)                                                  Chapter 13 Plan                                       Page 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                             Best Case Bankruptcy
